                    Exhibit 21
Case 2:23-cv-00071-TRM-JEM Document 235-20 Filed 06/28/24 Page 1 of 2 PageID #:
                                    6012
       Rough Transcript of Cathy Ball’s June 26, 2024 Press Conference from WJHL News
 Good morning, thank you for being here. I’ve asked you here for the purpose of being
 transparent and forthcoming with an unfortunate coincidence.
 (A)s we came closer to…closing the purchase, the seller reached out to my closing attorney and
 requested a remote closing. During that time, he disclosed that he was a fugitive. I immediately
 withdrew my offer for purchase of this condominium, and I did not buy the condominium. I
 knew that the owner’s name was Sean Williams. At that point in time, that name did not mean
 anything to me.
 I did not purchase this condominium. I want to make it clear that when I learned that the person
 was a fugitive, I withdrew my offer for the purchase of the contract. I did not have any
 communication with Sean Williams. I have never met Sean Williams. I have never talked to Sean
 Williams. No money ever exchanged hands. This was an unfortunate coincidence, but I want the
 community to hear about it from me.
 I recently learned that the Plaintiffs’ attorney had requested additional information about this
 condominium, and I want to come forward to the community and share the information I have to
 make sure that the facts are released accurately.


 Source: https://www.wjhl.com/news/local/sean-williams-case/jc-manager-was-in-contract-to-
 buy-sean-williams-condo-backed-out-when-learning-fugitive-status/




Case 2:23-cv-00071-TRM-JEM Document 235-20 Filed 06/28/24 Page 2 of 2 PageID #:
                                    6013
